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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

CAPTAIN MANJIT SANGHA           §
                                §
     Plaintiff,                 §                            CIVIL ACTION NO. ______________
                                §
VS.                             §                            ADMIRALTY
                                §
NAVIG8 SHIP MANAGEMENT PTE LTD, §
AND NAVIG8 GROUP                §
                                §
     Defendants.                §

                                         NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1333 and 1441(a), Defendants,

Navig8 Ship Management PTE LTD and Navig8 Group1 (hereinafter collectively referred to as

the “Navig8 Defendants”) hereby give notice that the action styled Capt. Manjit Sangha v.

Navig8 Ship Management PTE LTE and Navig8 Group, Cause No. No. 2016-47560, pending in

the 129th District Court of Harris County, Texas is hereby removed to the United States District

Court for the Southern District of Texas – Houston Division. In support of removal, the Navig8

Defendants state the following:

                                   TEXAS STATE COURT ACTION

        1.       On or about July 19, 2016, Plaintiff, Captain Manjit Sangha (“Capt. Sangha”),

filed an action against the Navig8 Defendants “under the General Maritime Law” alleging




1
 Capt. Sangha has attempted to serve Navig8 Group with the original suit papers that he filed in the 129th District
Court of Harris County, Texas, styled Capt. Manjit Sangha v. Navig8 Ship Management PTE LTE and Navig8
Group, Cause No. 2016-47560 (the “Texas State Court Action”). However, Navig8 Group does not exist as an
entity. To the extent that Capt. Sangha intended to sue some existing company within the Navig8 Group, this Notice
of Removal is filed on behalf of any such entity.


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“interference with a maritime contract,”2 in the 129th District Court of Harris County, Texas,

styled Capt. Manjit Sangha v. Navig8 Ship Management PTE LTE and Navig8 Group, Cause No.

2016-47560 (the “Texas State Court Action”).

        2.      The claim against the Navig8 Defendants involves the alleged intentional and

willful interference with a maritime contract. Capt. Sangha also alleges causes of action against

the Navig8 Defendants for Defamation, Tortious Interference with Current and Prospective

Relations and Economic Advantage, Intentional Infliction of Emotional Distress, and Fraud.

        3.      Navig8 Ship Management PTE LTD was served in the Texas State Court Action

on August 8, 2016.

        4.      Capt. Sangha attempted service on Navig8 Group in the Texas State Court Action

on August 8, 2016. However, Navig8 Group does not exist as an entity. To the extent that Capt.

Sangha intended to sue some existing company within the Navig8 Group, this Notice of

Removal is filed on behalf of any such entity.

        5.      No responsive pleadings have been filed by the Navig8 Defendants in the Texas

State Court Action, and the Navig8 Defendants will timely file their Answer to Plaintiff, Capt.

Sangha’s, Original Petition with this Court in compliance with FED. R. CIV. P. 81(c).

                          JURISDICTIONAL BASIS FOR REMOVAL

        5.      Capt. Sangha alleges interference with a maritime contract, and expressly alleges

that his claims arise under the General Maritime Law.

        6.      Because Capt. Sangha asserts claims arising under the General Maritime Law,

this Notice of Removal is filed on the basis of jurisdiction conferred by 28 U.S.C. §§ 1333 and

1441(a).     A federal court’s authority to hear cases in admiralty flows initially from the

2
 See Exhibit “A”, Plaintiff’s Original Petition and Jury Demand, filed in the 129th District Court of Harris
County, Texas, styled Capt. Manjit Sangha v. Navig8 Ship Management PTE LTD. and Navig8 Group, Cause No.
2016-47560, on July 19, 2016.

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Constitution, which “extend[s]” federal judicial power “to all cases of admiralty and maritime

jurisdiction.”

       7.        Before January 2012, some courts interpreted 28 U.S.C. § 1441(a) to mean that a

claim within the admiralty jurisdiction could be removed only when there was a separate basis

for federal jurisdiction. However, 28 U.S.C. § 1441 was amended in 2011, and § 1441(a)

currently reads as follows: “Except as otherwise expressly provided by Act of Congress, any

civil action brought in a State court of which the district courts of the United States have original

jurisdiction, may be removed by the defendant or the defendants, to the district court of the

United States for the district and division embracing the place where such action is pending.” A

suit within the admiralty jurisdiction is a “civil action . . . of which the district courts of the

United States have original jurisdiction,” and may be properly removed to federal court. Exxon

Mobil Corp. v. Starr Indemn. & Liab. Ins. Co., No. 15–1555, 2015 U.S. Dist. LEXIS 178100, at

*18–23 (S.D. Tex. December 21, 2015) (Hittner, J.); Exxon Mobil Corp. v. Starr Indem. & Liab.

Co., 2014 U.S. Dist. LEXIS 82434 (S.D. Tex. June 17, 2014) (Atlas, J.). See also Ryan v.

Hercules Offshore, Inc., 945 F.Supp.2d 772, 774–78 (S.D. Tex. 2013) (Miller, J.); Carrigan v.

M/V AMC AMBASSADOR, No. 13–3208, 2014 U.S. Dist. LEXIS 12484 (S.D. Tex. Jan. 31,

2014) (Werlein, J.); Wells v. Abe’s Boat Rentals, Inc., 2013 U.S. Dist. LEXIS 85534 (S.D. Tex.

June 18, 2013) (Rosenthal, J.).

       8.        Pursuant to 28 U.S.C. §§ 1333 and 1441(a), and without prejudice to any defense

the Navig8 Defendants may have to Capt. Sangha’s action including, but not limited to any

defenses related to improper service and/or personal jurisdiction over any of the Navig8

Defendants, the Navig8 Defendants remove this action from the 129th District Court of Harris




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County, Texas to the United States District Court for the Southern District of Texas – Houston

Division.

                            VENUE IS PROPER IN THIS COURT

       9.      The United States District Court for the Southern District of Texas – Houston

Division embraces the county in which the Texas State Court Action was filed. Accordingly,

this case is properly removed to this Court under 28 U.S.C. § 1446(a).

                                    REMOVAL IS TIMELY

       10.     The Texas State Court Action was filed on or about July 19, 2016. Defendant,

Navig8 Ship Management PTE LTD, was served with the Texas State Court Action on August 8,

2016. Plaintiff attempted service on Navig8 Group in the Texas State Court Action on August 8,

2016. However, Navig8 Group does not exist as an entity. This Notice of Removal is filed

within 30 days of the first receipt, through service or otherwise, of a copy of the initial pleading

setting forth the claim for relief upon which such action or proceeding is based. 28 U.S.C. §

1446(b)(1); Murphy Bros. v. Michetti Pipe Stringing, 526 U.S. 344 (1999). Thus, this Notice of

Removal is timely pursuant to 28 U.S.C. § 1446(b).

                                      OTHER MATTERS

       11.     Written notice of the filing of this Notice of Removal will be given to all adverse

parties, as required by the provisions of 28 U.S.C. § 1446(d).

       12.     A true and correct copy of this Notice of Removal will be filed with the District

Clerk for the 125th District Court of Harris County, Texas, as required by the provisions of 28

U.S.C. § 1446(d). The Navig8 Defendants are providing the 129th District Court of Harris

County, Texas with written notice of this removal.




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       13.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81, copies of all process,

pleadings, and orders signed by the state judges (if any), a copy of the docket sheets, a complete

list of all counsel of record, together with an index of such documents are attached hereto

collectively as Exhibit B.

       14.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served

upon Capt. Sangha’s counsel and a copy is being filed with the Clerk of the District Court of

Harris County, Texas.

       WHEREFORE, the Navig8 Defendants hereby remove this action to the United States

District Court for the Southern District of Texas – Houston Division.

                                                    Respectfully submitted,

                                                    CHAFFE MCCALL, L.L.P.

                                                      /s/ Ivan M. Rodriguez
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ATTORNEY FOR DEFENDANTS

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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 29th day of August, 2016, a true and correct copy of the
foregoing document was forwarded to all counsel of record in accordance with the Federal Rules
of Civil Procedure, as follows:

       Michael Patrick Doyle                      Via Facsimile and Email
       Patrick Dennis
       Jeffrey I. Avery
       Doyle Trial Lawyers
       The Clocktower Building
       3401 Allen Parkway, Ste. 100
       Houston, Texas 77019


                                                   / s/ Ivan M. Rodriguez
                                                  IVAN M. RODRIGUEZ




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